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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF ARKANSAS
                          HOT SPRINGS DIVISION

LAUREN SISSON, individually and on              )
behalf of all others similarly situated,        )
                                                )
               Plaintiff,                       )
                                                )
                                                      Case No. 6:14-CV-6090
v.                                              )
                                                )
THE SALVATION ARMY,                             )
                                                )
               Defendant.                       )


         DEFENDANT’S MOTION FOR PARTIAL DISMISSAL OF PLAINTIFF’S
                              COMPLAINT

       Defendant, the Salvation Army, by and through its undersigned counsel, hereby moves

the Court to dismiss the Plaintiff’s hostile work environment claim pursuant to Fed. R. Civ. P.

12(b)(6) as follows:

       1.      Plaintiff filed her Complaint on August 8, 2014, alleging violations of federal

laws. See Doc. 1.

       2.      The Plaintiff’s hostile work environment claim is brought pursuant to Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000(e), et seq. (“Title VII”). The Plaintiff’s hostile

work environment claim, however, suffers two fatal flaws requiring dismissal: (1) the Plaintiff

failed to exhaust her administrative remedies with regard that claim; and (2) the factual

allegations in the Plaintiff's Original Complaint (“Complaint”), even if true, are insufficient as a

matter of law to state a claim against the Salvation Army for hostile work environment.

       3.      Pursuant to Fed. R. Civ. P. 12(b)(6), the Court must dismiss the Plaintiff’s cause

of action for hostile work environment and preclude the Plaintiff from filing an amended

complaint, as an amendment would be futile.


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     4.        Defendant incorporates its contemporaneously-filed Brief in Support of this

Partial Motion to Dismiss as if stated herein word for word.

     WHEREFORE, pursuant to Fed. R. Civ. P. 12(b)(6), the Salvation Army respectfully

requests the Court grant its motion for partial dismissal of the Plaintiff’s hostile work

environment claim and dismiss Count I of the Plaintiff’s Complaint with prejudice.




                                               s/ J. Bruce Cross
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                                 CERTIFICATE OF SERVICE

    I hereby certify that on this 11th day of September, 2014, I electronically transmitted the
foregoing document to the Court Clerk using the ECF System for filing. The Court Clerk will
transmit a Notice of Electronic Filing to the following ECF registrants:

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                                                  s/ J. Bruce Cross
                                                  J. Bruce Cross



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